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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

 FRACTUS, S.A.,


       Plaintiff,                             JURY TRIAL DEMANDED


       v.

 AT&T MOBILITY LLC,

       Defendant,

 and                                         Case No. 2:18-cv-00135-JRG
                                                   LEAD CASE
 COMMSCOPE TECHNOLOGIES LLC and
 CELLMAX TECHNOLOGIES AB,

        Intervenor-Defendants.
 SPRINT COMMUNICATIONS COMPANY,
 L.P., ET AL.,
       Defendants,

                                             Case No. 2:18-cv-00136-JRG
 and

 COMMSCOPE TECHNOLOGIES LLC and
 CELLMAX TECHNOLOGIES AB,

      Intervenor-Defendants.
 T-MOBILE US, INC., ET AL.,

       Defendants,

 and                                         Case No. 2:18-cv-00137-JRG

 COMMSCOPE TECHNOLOGIES LLC and
 CELLMAX TECHNOLOGIES AB,

      Intervenor-Defendants.
 CELLCO PARTNERSHIP d/b/a VERIZON            Case No. 2:18-cv-00138-JRG
 WIRELESS,
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        Defendant,

 and

 COMMSCOPE TECHNOLOGIES LLC,

        Intervenor-Defendant.

                          JOINT MOTION FOR ENTRY OF ORDER
                         FOCUSING ASSERTED CLAIMS AND PRIOR ART

       The parties jointly request that the Court enter an Order Focusing Asserted Claims and

Prior Art. The attached Order sets forth the parties’ agreements and disagreements regarding a

staged procedure by which the parties will reduce the number of asserted claims and prior art

references in the above-captioned matters in order to reduce costs and the burden on both the

parties and the Court.

       The parties respectfully request that the Court grant this joint motion, resolve their

disputes and enter the attached an Order Focusing Asserted Claims and Prior Art.

 DATED: December 12, 2018                          GIBSON, DUNN & CRUTCHER LLP

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                              CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed electronically on December 12, 2018,

pursuant to Local Rule CV-5(a) and has been served on all counsel who have consented to

electronic service.

                                          /s/ Michael Ng
